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AO 458 (Rev. 06/09) Appearance of Counsel

 

UNITED STATES DISTRICT COURT

for the
Eastern District of Virginia

United States of America )
Plaintiff }
Vv. ) Case No. 19-mj-00443
Lev Parnas )
Defendant )
APPEARANCE OF COUNSEL

To: The clerk of court and all parties of record
I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

Lev Parnas

Date: October 18, 2019 Liaw o 7 Ne -F,

Atiorney's signature

Edward B. MacMahon, Jr. Bar #: 25432

Printed name and bar number

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